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                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF PENNSYLVANIA

PATRICK STOLLAR,              )
                              )
           Plaintiff,         )                       2:21-cv-1515
                              )
     v.                       )                       District Judge Arthur J. Schwab
                              )                       Magistrate Judge Patricia L. Dodge
                              )
JOHN E. WETZEL and            )
PA DEPARTMENT OF CORRECTIONS, )
           Defendants.        )


     MEMORANDUM ORDER ADOPTING MAGISTRATE JUDGE’S REPORT AND
    RECOMMENDATION (Doc. 29) AS OPINION OF COURT, AND REOPENING CASE

        Plaintiff, Patrick Stollar, is a Pennsylvania prisoner who is currently housed at

SCI Phoenix. He commenced this civil action in October 2021 by submitting a complaint for

filing.1 (Doc. 1). In December 2021, Stollar cured certain filing deficiencies, and the Clerk of

Court filed the Complaint.2 (Doc. 13). Later that same month Stollar filed a notice of voluntary

dismissal of this action on the form the Court had provided to him. (Doc. 18). As a result, the

Court dismissed as moot a motion to transfer that Defendants had filed, and the Clerk of Court

closed this case. (Doc. 19, Doc. 20.)

        Stollar later filed the pending Motion to Reopen (Doc. 21), which is fully briefed.

(Doc. 22, Doc. 23, Doc. 24, Doc. 25, Doc. 26, Doc. 27-1). On September 6, 2022, the Magistrate

Judge filed a thorough Report and Recommendation (Doc. 29), recommending that the Court



1
 This case was referred to a United States Magistrate Judge for pretrial proceedings in accordance
with the Magistrate Judges Act, 28 U.S.C. § 636(b)(1), and the Local Rules of Court.
2
 In the Complaint, Stollar asserts that his prolonged confinement in the DOC’s Capital Case Unit
violated his rights under the Eighth and Fourteenth Amendments, as well as the Americans with
Disabilities Act. He named as Defendants the DOC and its former Secretary, John E. Wetzel.
                                                  1
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grant Stollar’s motion and reopen this case. Defendants’ objections were due by September 20,

2022. (Id.). They did not file any objections.

        Accordingly, after de novo review of the pleadings and documents in the case, together

with the Report and Recommendation (Doc. 29), the following ORDER is entered:

        AND NOW, this 26th day of September, 2022,

        IT IS HEREBY ORDERED that Stollar’s Motion to Reopen (Doc. 21) is GRANTED,

and the Clerk of Court is directed to reopen this case.

        IT IS FURTHER ORDERED that the Report and Recommendation (Doc. 29), filed by

the Magistrate Judge on September 6, 2022 is adopted as the Opinion of the Court.

        IT IS FURTHER ORDERED that if Defendants still seek an order from this Court that

transfers this case to another district court, they should file a motion to transfer by October 13,

2022.



                                                      BY THE COURT:


                                                      s/Arthur J. Schwab
                                                      Arthur J. Schwab
                                                      United States District Judge



cc:     All Registered ECF

        PATRICK STOLLAR
        HM 3365
        SCI-PHOENIX
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